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w t 7_'°'j
UNITED STATES DISTRICT COUR‘I`
CENTRAL DISTRICT OF CALIF()RNIA

 

 

 

 

United States of America CASE NUMBER l é
~' 'L
PLAINTIFF C l 7
v.
F` g DESIGNATION AND APPEARANCE OF COUNSEL
,_X q dwi VE{/L/W DEFENDANT(S).
DESIGNATION OF COUNSEL

 
 

4 case hereby designate and appoint
' . Esquire, as my attorney to appear for

-Hl:At$Bndersi ned defendant in the abi ‘ ll
R Hl` v H/A \VA.' .'

me throughout all proceedings in this case.

SQQ+\§ [2 201/ ;LM …J
Date Defenliant ’s Signa)fure

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Cily and State ‘

 

 

 

\ APPEARANCE OF COUNSEL

I, Q l C. A a M MA` Hf§ //lx~/ Attorney at law duly admitted to

practice before the United States Distr"lct Court for the Central Distn'ct of California, hereby consent to my designation and
appointment as counsel for the above-named defendant The Clerk is therefore requested to enter my appearance as
defendant's counsel.

Receipt is hereby acknowledged of a copy of the Indictment or Information in this case.

Q,_,Q`l£l /2‘ 20 [/

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Date Atlorney 's Signalure

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E-mailAcldress ~/ \ l

 

CR-l4 (0!/07) DESIGNATION AND APPEARANCE OF COUNSEL

